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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

MARY S. WILSON,                               )
                                              )
      Plaintiff,                              )     21 C 1955
                                              )
                    vs.                       )     Judge Thomas M. Durkin
                                              )
UNITED STATES OF AMERICA,                     )
U.S. DEPARTMENT OF JUSTICE,                   )
DRUG ENFORCEMENT                              )
ADMINISTRATION, and AGENTS,                   )
                                              )
      Defendants.                             )

   GOVERNMENT’S RESPONSE TO MOTION FOR RETURN OF SEIZED
                       PROPERTY

      The United States of America, by JOHN R. LAUSCH, Jr., United States

Attorney for the Northern District of Illinois, hereby submits its Response to

Plaintiffs’ Motion for Return of Seized Property. For the reasons set forth below, the

government respectfully requests that plaintiffs’ motion should be denied.

                                 INTRODUCTION

      On April 12, 2021, Plaintiff Mary S. Wilson filed a motion under Federal Rule

of Criminal Procedure 41(g) seeking the return of $33,783 in seized currency or, in

the alternative, ordering the government to initiate judicial forfeiture proceedings

against the seized money. This Court should deny Plaintiff Wilson’s Rule 41(g)

motion for return of the $33,783 for lack of jurisdiction and deny her motion under

Section 983(e) on the merits.
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      On April 20, 2021, the Drug Enforcement Administration (DEA) concluded an

administrative forfeiture action against the $33,783 in currency seized from Wilson.

Because DEA has completed the legal process of administratively forfeiting that

currency, this Court lacks jurisdiction to consider Wilson’s Rule 41(g) motion seeking

the equitable relief of the return of that property.

      Accordingly, now the seized currency has been administratively forfeited.

Wilson’s only remedy for challenging DEA’s completed administrative forfeiture of

the seized currency would be to bring a motion to set aside that administrative

forfeiture for lack of notice under 18 U.S.C. § 983(e). But any such motion would fail

based on the facts, as DEA did in fact give Wilson sufficient notice of DEA’s

commencement of administrative forfeiture proceedings against the seized $33,783

in currency.

                                           FACTS

      On June 25, 2020, law enforcement with the DEA seized a total of

approximately $33,783 in United States currency from the checked bag of Wilson at

Chicago O’Hare International Airport, based on probable cause that the currency

constituted illegal proceeds of narcotics trafficking.

      On August 21, 2020, the DEA sent notice by certified mail, which included

instructions on both filing a claim and on filing a petition for remission or mitigation,

to Wilson of DEA’s intent to administratively forfeit the approximately $33,783 in

currency that had been seized from Wilson on June 25, 2020. Declaration of Vicki L.

Rashid, (attached hereto as Exhibit A) ¶4(a-b). The mailed notices informed Wilson,



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first, that she could file a claim with DEA to contest the forfeiture of the

approximately $33,783 in seized currency, and that any such claim must be filed with

DEA by September 7, 2020, and second, that in addition to, she could file a petition

for remission or mitigation of the forfeiture with DEA and that any such petition must

be filed with DEA within 30 days of receipt of the notice. Id.¶4(c) Ex 1-2.

      On September 18, 2020, DEA received a petition for remission or mitigation of

forfeiture from Wilson. Id. ¶4(d) Ex 3.

      On September 24, 2020, DEA sent a letter acknowledging receipt of the

petition by certified mail. DEA checked the United States Postal Service website

which confirmed the DEA’s letter was delivered to the front desk of attorney Edward

Johnson’s office on October 9, 2020 Id.¶4(e) Ex 4-5.

      On February 22, 2021, DEA received a letter from Wilson’s counsel, Edward

Johnson, in which he stated that he had mistakenly filed a petition for remission on

September 18, 2020, and that he had instead intended to file a claim. Attorney

Johnson also asked DEA to accept his client’s defective claim dated February 19,

2021. Id. ¶4(f) Ex. 6.

      On March 18, 2021, DEA sent a letter to Attorney Johnson acknowledging

DEA’s receipt of Attorney Johnson’s February 22, 2021 letter, but declining to extend

the deadline to file a claim because, as Wilson’s counsel had conceded, DEA received

the claim well after the expiration of the September 7, 2020 deadline for filing a claim

in the administrative proceeding. Id. ¶4(f-g) Ex. 7. The DEA granted counsel an

additional thirty days to submit additional information to support the petition for



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remission or mitigation. Id. But Wilson did not submit any additional information to

support her petition for remission. Id. ¶4(g) Ex 7.

      On April 20, 2021, after no timely claims or petitions had been filed to the

approximately $33,783, DEA administratively forfeited the currency. Id. ¶4(f) Ex. 9.

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                                    ARGUMENT

I.    Because DEA has commenced and completed an administrative
      forfeiture proceeding against the seized $33,783, this Court lacks
      jurisdiction over a Rule 41(g) motion for return of the forfeited
      currency.

      Because    DEA     commenced,     and    completed,   the    legal   process   for

administratively forfeiting the approximately $33,783 in seized currency, the Court

lacks jurisdiction over Wilson’s Rule 41(g) motion seeking, as equitable relief, the

return of that seized currency. See United States v Sims, 376 F.3d 705, 708 (7th Cir.

2004) (“The proper office of a Rule 41(g) motion is, before any forfeiture proceedings

have been initiated, or before any criminal charges have been filed, to seek the return

of the property seized without probable cause, or property held an unreasonable

length of time without the institution of proceedings that would justify the seizure

and retention of the property.”); see also United States v. $8,050.00 in U.S. Currency,

307 F. Supp. 2d 922, 926-927 (N.D. Ohio 2004) (the comprehensive provisions enacted

by CAFRA in Section 983 give a claimant an adequate remedy at law for contesting

civil forfeiture, and accordingly once the government commences administrative

forfeiture proceeding, the Rule 41(g) motion must be dismissed).




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       Thus, now that DEA has commenced and completed an administrative

forfeiture against the approximately $33,783 in seized currency, this Court lacks

jurisdiction over Wilson’s Rule 41(g) motion for return of property.

II.    Wilson failed to file a valid claim with the DEA even after DEA had
       reminded her that she had filed only a petition for remission or
       mitigation and not a claim.

       Procedurally, a claimant’s timely filing of a valid claim as to property subject

to administrative forfeiture stops all administrative forfeiture proceedings. The

seizing agency then refers the claim to a United States Attorney Office that has venue

over the matter. That USAO must then either (1) initiate a federal judicial action

seeking forfeiture of the property within ninety (90) days of the date when the seizing

agency received the claim or (2) return the seized property. See 18 U.S.C. § 983(a)(3).

If the USAO commences a timely civil judicial forfeiture action against the property,

a claimant may then challenge the forfeiture in that civil forfeiture action.

       But if an individual fails to timely file a valid claim in the administrative

forfeiture proceeding, the property is administratively forfeited. See 19 U.S.C. § 1609.

In lieu of, or in addition to, filing a claim, an individual may request remission and/or

mitigation of the administrative forfeiture by filing a Petition for Remission or

Mitigation of Forfeiture within thirty days of the notice of seizure. 28 C.F.R. § 9.3.

Persons who choose to solely pursue the administrative remedies of remission or

mitigation waive their opportunity for judicial forfeiture proceedings. Conservation

Force v Salazar, 646 F.3d 1243 (9th Cir. 2011). Accordingly, the DEA did not err by

treating the petition as what it was - a petition for remission and not an



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administrative claim. See, e.g., Capehart v. United States, No. 5:19-cv-00933-DMG-

RAO, 2019 WL 8198212 (C.D. Cal. Spet.25, 2019) (holding that seizing agency

properly considered claimant’s petition for remission as a petition and not an

administrative claim).

      Here, on September 18, 2020, Wilson filed only a petition for remission or

mitigation of forfeiture, and not a claim. (See Decl. of Vicki Rashid ¶4 (d), Ex. 3. On

September 24, 2020, DEA sent a letter to Wilson acknowledging receipt of the

petition, which put Wilson on notice that she did not file a claim. Id. ¶4(e), Ex. 4. On

April 20, 2021, after the time limit for filing the claim had expired, DEA

administratively forfeited the $33,783. Id. ¶4(h), Ex. 9. Even after DEA put her on

notice on September 24, 2020, that she had filed only a petition for remission or

mitigation and not a claim, Wilson still failed to file a claim before the September 25,

2020 filing deadline, and she also failed to do so, for more than four months

thereafter. Id.¶4(f) Ex 6. Only on February 22, 2021, more than four months after

she had received the original seizure notice did Wilson’s counsel send a letter to DEA

stating that counsel had filed a petition from remission or mitigation by mistake and

that counsel had instead intended to file a claim. Id. ¶4(f) Ex 6. Counsel submitted

a defective claim with the letter and asked DEA to accept his client’s defective claim.

Id. ¶4(f) Ex 6. On March 18, 2021, because counsel had initially filed a petition and

not a claim, DEA responded to counsel’s letter and declined to extend the deadline to

file a claim. Id. ¶4(g) Ex. 7. However, DEA graciously provided counsel an additional




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thirty (30) days to submit additional information as part of his client’s petition, which

counsel did not do. Id.

        The DEA did not err by treating Wilson’s petition as a petition for remission

and not an administrative claim.

III.    The Court should decline to construe Wilson’s Rule 41(g) motion as a
        motion under 18 U.S.C. § 983(e).

        The court should not construe Wilson’s Rule 41(g) motion as a

motion to set aside DEA’s declaration of administrative forfeiture under 18 U.S.C. §

983(e). Section 983(e) permits a Court to set aside a declaration of administrative

forfeiture for lack of notice of the administrative forfeiture proceedings.        See §

983(e)(2). Here, any such motion would lack any factual basis. DEA gave timely and

adequate notice of the administrative forfeiture proceedings against the seized

currency to Wilson. That she received timely notice of her right to file a claim is

underscored by the fact that, she timely filed a petition for remission or mitigation,

which shows that she received the notice letter advising her of her right to file a claim

or such a petition. Furthermore, Wilson has not challenged the sufficiency of the

notice of forfeiture that DEA provided to her.




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                                 CONCLUSION

      For the reasons, set forth above, government respectfully requests that this

Court deny Mary S. Wilson’s motion for return of property under Rule 41(g) and

decline her motion under Section 983(e) on the merits.




                                             Respectfully submitted,

                                             JOHN R. LAUSCH, Jr.
                                             United States Attorney

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